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 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
 3   Phoenix, AZ 85012
 4
     602 445 9819
     866 565 1327 facsimile
 5   mmeyers@AttorneysForConsumers.com
 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Cathleen Fleming,                             ) Case No.
10
                                                   )
     Plaintiff,                                    ) COMPLAINT AND TRIAL BY JURY
11                                                 ) DEMAND
             vs.                                   )
12
                                                   )
13   NCO Financial Systems, Inc.,                  )
                                                   )
14
                                                   )
15   Defendant.                                    )
16
                                       NATURE OF ACTION
17

18           1.    This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                                   JURISDICTION AND VENUE
21

22           2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23
     1331.
24
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25

26   the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
27   Plaintiff resides in this district), and/or where Defendant transacts business in this district.
28




                                               Complaint - 1
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 1                                           PARTIES
 2
            4.     Plaintiff, Cathleen Fleming (“Plaintiff”), is a natural person who at all
 3

 4
     relevant times resided in the State of Arizona, County of Maricopa, and City of

 5   Goodyear.
 6
            5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 7

 8
            6.     Defendant, NCO Financial Systems, Inc. (“Defendant”) is an entity who at

 9   all relevant times was engaged, by use of the mails and telephone, in the business of
10
     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
11
            7.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
12

13                                 FACTUAL ALLEGATIONS
14
            8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
15
     owed or due, or asserted to be owed or due a creditor other than Defendant.
16

17          9.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
18
     owed or due a creditor other than Defendant, arises from a transaction in which the
19
     money, property, insurance, or services that are the subject of the transaction were
20

21   incurred primarily for personal, family, or household purposes.
22          10.    Plaintiff incurred the obligation, or alleged obligation, owed or due, or
23
     asserted to be owed or due a creditor other than Defendant.
24

25          11.    Defendant uses instrumentalities of interstate commerce or the mails in a

26   business the principal purpose of which is the collection of any debts, and/or regularly
27
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
28
     owed or due another.


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 1         12.    Defendant placed numerous calls to Plaintiff before 8:00 A.M., a time that
 2
     Defendant knew to be inconvenient to Plaintiff, including, but not limited to the
 3

 4
     following dates and times:

 5                 March 18, 2010 @ 7:24 A.M.
 6
                   April 3, 2010 @ 6:53 A.M.
 7

 8
                   April 3, 2010 @ 7:25 A.M.

 9                 April 6, 2010 @ 7:51 A.M.
10
                   April 10, 2010 @ 6:50 A.M.
11
                   April 10, 2010 @ 7:14 A.M.
12

13                 April 17, 2010 @ 7:22 A.M.
14
                   April 22, 2010 @ 5:20 A.M.
15
                   April 22, 2010 @ 6:51 A.M.
16

17                 April 24, 2010 @ 7:53 A.M.
18
                   April 24, 2010 @ 6:22 A.M.
19
                   April 30, 2010 @ 7:02 A.M.
20

21                 May 1, 2010 @ 6:22 A.M.
22                 May 1, 2010 @ 7:30 A.M.
23
                   May 8, 2010 @ 7:21 A.M.
24

25                 June 8, 2010 @ 7:02 A.M

26                 June 8, 2010 @ 7:16 A.M.
27
                   June 14, 2010 @ 7:10 A.M.
28
                   June 18, 2010 @ 6:48 A.M.


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 1                  June 19, 2010 @ 6:49 A.M.
 2
                    (15 U.S.C. § 1692c(a)(1)).
 3

 4
           13.      Defendant otherwise used the phone to harass and annoy Plaintiff (15

 5   U.S.C. §1692(d)(5)) by calling Plaintiff in excess of one hundred times in the last
 6
     calendar year, at times without making meaningful disclosure of the caller’s identity (15
 7

 8
     U.S.C.§1692(d)(6) and at times regarding debts Plaintiff doesn’t owe.

 9         14.      Upon information and belief, Defendant made these calls on three separate
10
     accounts (hereinafter accounts “1”, “2” or “3”), one or more of which Plaintiff did not
11
     owe on, thereby also misrepresenting the character, status and/or amount of the debt (15
12

13   U.S.C. §1692(e)(2)(a) and in violation of third party protection under the FDCPA (15
14
     U.S.C.§1692(b).
15
           15.      Defendant’s actions constitute conduct highly offensive to a reasonable
16

17   person.
18
                                     COUNT I—ACCOUNT 1
19
           16.      Plaintiff repeats and re-alleges each and every allegation contained above.
20

21         17.      Defendant violated the FDCPA as detailed above.
22         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
23
                 a) Adjudging that Defendant violated the FDCPA;
24

25               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

26                  amount of $1,000.00;
27
                 c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
28




                                              Complaint - 4
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 1            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
 2
                 action;
 3

 4
              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

 5               allowed under the law;
 6
              f) Awarding such other and further relief as the Court may deem just and
 7

 8
                 proper.

 9                                   COUNT II—ACCOUNT 2
10
        18.      Plaintiff repeats and re-alleges each and every allegation contained above.
11
        19.      Defendant violated the FDCPA as detailed above.
12

13      WHEREFORE, Plaintiff prays for relief and judgment, as follows:
14
              a) Adjudging that Defendant violated the FDCPA;
15
              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
16

17               amount of $1,000.00;
18
              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
19
              d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
20

21               action;
22            e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
23
                 allowed under the law;
24

25            f) Awarding such other and further relief as the Court may deem just and

26               proper.
27
                                 COUNT III—ACCOUNT 3
28
        20.      Plaintiff repeats and re-alleges each and every allegation contained above.


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 1      21.      Defendant violated the FDCPA as detailed above.
 2
        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 3

 4
              a) Adjudging that Defendant violated the FDCPA;

 5            b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
 6
                 amount of $1,000.00;
 7

 8
              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

 9            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
10
                 action;
11
              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
12

13               allowed under the law;
14
              f) Awarding such other and further relief as the Court may deem just and
15
                 proper.
16

17                                    TRIAL BY JURY
18
        Plaintiff is entitled to and hereby demands a trial by jury.
19
                 Respectfully submitted this 22nd day of September, 2010
20

21                             By: s/ Marshall Meyers
                               Marshall Meyers (020584)
22                             WEISBERG & MEYERS, LLC
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26                             Attorney for Plaintiff
27

28




                                          Complaint - 6
